      Case 4:19-cv-00365-LSC-GMB Document 32 Filed 10/16/20 Page 1 of 2                                  FILED
                                                                                                2020 Oct-16 PM 03:19
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             MIDDLE DIVISION

    ONENESE KOLAWOLE MONDAY, )
                             )
        Petitioner,          )
                             )
    v.                       )                         Case No. 4:19-cv-365-LSC-GMB
                             )
    WILLIAM P. BARR, et al., )
                             )
        Respondents.         )

                               MEMORANDUM OPINION

       The Magistrate Judge entered a report on September 9, 2020, recommending

the court grant Respondents’ motion to dismiss the petition as moot due to

Petitioner’s removal to Nigeria on August 18, 2020. Doc. 31.                        Although the

Magistrate Judge advised Petitioner of his right to file specific written objections

within fourteen days, no objections have been received by the court.1

       Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the court ADOPTS the

Magistrate Judge’s report and ACCEPTS his recommendation.                            Accordingly,

Respondents’ motion to dismiss the petition as moot is due to be granted. Doc. 30.

The court will dismiss this matter by separate order.


1
 The report and recommendation, mailed to Petitioner at the Etowah County Detention Center,
has not been returned as undeliverable. Doc. 31. Petitioner has not apprised the court of his current
address.
                                                 1
Case 4:19-cv-00365-LSC-GMB Document 32 Filed 10/16/20 Page 2 of 2




DONE and ORDERED on October 16, 2020.



                              _____________________________
                                        L. Scott Coogler
                                   United States District Judge
                                                                    160704




                                2
